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                                                   779
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                                                              April 4, 2025

 VIA ECF

 Honorable Natasha C. Merle
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
 Email: Merle_Chambers@nyed.uscourts.gov

           Re:       Correa Morales v. Escobar Restrepo
                     Case No. 1:24-cv-07951-NCM-TAM

 Dear Judge Merle:

         On March 28, 2025, this Court issued Findings of Fact and Conclusions of Law granting
 Petitioner’s petition and ordering L.C. (the “Child”) be returned to Colombia (the “Order”) (ECF
 No. 62). The Court further directed the parties to submit a joint proposed order of return by April
 4, 2025. The Clerk of Court entered judgment in favor of Petitioner on March 31, 2025 (ECF
 No. 63).

        Pursuant to the Order, the parties have attempted to confer and have been unable to reach
 an agreement regarding the return of the Child to Colombia.

          Petitioner proposes the following travel arrangements: that the Clerk of Court release the
 Child’s two passports to the Petitioner for the purpose of the Child’s return to Colombia; that the
 Petitioner be permitted to pick up the Child from the Respondent’s residence at a mutually
 agreed-upon time, no later than April 13, 2025; and that the Child be returned to Colombia no
 later than April 13, 2025. Petitioner has secured a spot for L.C. at the “Anglo Español” School
 in Colombia. L.C. can commence his studies there on April 21, 2025 (once the spring break is
 over) without further academic disruption. Petitioner has already arranged, and remains ready to
 facilitate, the transition so that any impact on L.C.’s school life would be minimal upon his
 return.

         Additionally, the Petitioner respectfully requests that this Court issue an order allowing
 the Petitioner to obtain a U.S. passport for the minor Child without the Respondent’s consent or
 signature. Despite efforts by Petitioner’s counsel to have the Respondent sign the required
 passport consent form (DS-3053), the Respondent has not yet agreed to do so. This matter is
 time-sensitive, as Petitioner has an appointment in New York on April 8th to obtain a new
 passport for the Child so he can return to Colombia by the proposed return date of April 13,
 2025.


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         Respondent objects to the Child’s returning to Colombia before June 26, 2025, the last
 day of the child’s academic year. In Respondent’s view, the Child may be further harmed
 developmentally and educationally by his sudden removal from school and by not being allowed
 to complete the school year at the institution he has attended since 2024. Respondent proposes
 that Petitioner collect the Child from her home on June 28, 2025 to return him to Colombia.

        Respondent does not object to signing the requested passport application authorization
 form. Respondent’s attorney has forwarded the form to her and is expecting her response once
 Respondent arrives home from work this evening.

        Respondent intends to exercise her appellate rights and will seek a stay of the Court’s
 Order in connection with her appeal.


                                                       Very truly yours,

                                                       /s/Richard Min
                                                       Richard Min
                                                       Attorney for Petitioner

                                                       /s/ Edgar Loy Fankbonner
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